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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

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 CRYSTALLEX INTERNATIONAL CORP.,                              )
                                                              )
                   Plaintiff,                                 )
                                                              )
          v.                                                  )   Misc. No. 17-151-LPS
                                                              )
 BOLIVARIAN REPUBLIC OF VENEZUELA, )
                                                              )
                   Defendant.                                 )
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                                SPECIAL MASTER'S STATUS REPORT




                                                                            Dated: September 27, 2024
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 BY HAND DELIVERY & CM/ECF

 The Honorable Leonard P. Stark
 United States District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 North King Street
 Wilmington, DE 19801-3570

 Re:    Crystallex International Corp. v. Bolivarian Republic of Venezuela,
        D. Del. C.A. No. 1:17-mc-00151-LPS

 Dear Judge Stark:

        I, Robert B. Pincus, solely in my capacity as special master for the United States District
 Court for the District of Delaware in Crystallex International Corp. v. Bolivarian Republic of
 Venezuela (D. Del. Case. No. 17-151-LPS), hereby submit this status report in connection with
 my disclosure obligations pursuant to confidentiality agreements executed with certain holders of
 8.5% Senior Notes due 2020 (the “2020 Notes”) issued under that certain Indenture, dated October
 27, 2016 among, inter alios, Petróleos de Venezuela, S.A., as issuer, GLAS Americas LLC, as
 Collateral Agent, and MUFG Union Bank, N.A., as Trustee.

         As previously disclosed, I have engaged in discussions with holders of 2020 Notes related
 to the pledge of CITGO Holding, Inc. equity and the Marketing Process for the PDVH Shares.
 See D.I. 1155. As of the date hereof, those discussions have not resulted in an agreement and the
 discussions are no longer active. In connection with the discussions, I did not provide the holders
 of 2020 Notes with any confidential information.

        Notwithstanding the disclosure herein, I reserve all rights to re-engage in discussions with
 holders of the 2020 Notes.

                                                      Respectfully,

                                                      /s/ Robert B. Pincus

                                                      Robert B. Pincus
                                                      Special Master



 cc:    All Counsel of Record (via CM/ECF)
